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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff,
                                                             Hon. Gordon J. Quist
 v.
                                                             Case No. 1:19-cr-00025
 MOHAMED ABDIKADIR MUSE,

       Defendant.
 ________________________________/

                                  ORDER OF DETENTION

      This matter is before the Court on the government’s motion for pretrial

detention. Defendant has been charged in a two-count Indictment. Count 1 of the

Indictment charges defendant with conspiracy to provide material support to a

designated foreign terrorist organization in violation of 18 U.S.C.§ 2339B(a)(1) and

count two charges him with attempting to provide material support to a designated

foreign terrorist organization in violation of 18 U.S.C. §§ 2339B(a)(1) and 2. Given

the nature of the charges, there is a statutory rebuttable presumption in favor of

detention.

      The government sought defendant’s detention on the basis that he is a danger

to the community, 18 U.S.C. § 1342(f)(1), and that he poses a significant risk of flight,

18 U.S.C. § 3142(f)(2)(A). The Court conducted a hearing yesterday, at which

defendant was represented by counsel.

      Having considered the information presented at the hearing, the parties’ oral
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submissions, and the information in the Pretrial Services Report, and for the reasons

stated on the record, the Court finds that defendant has rebutted the presumption of

detention regarding risk of flight, but has not rebutted the presumption of detention

as to danger to the community. The Court also finds, as explained on the record, that

the government has met its burden of establishing by preponderant evidence that

defendant poses a significant risk of flight and by clear and convincing evidence that

defendant poses a danger to the community. Further, the Court finds that there is

no condition or combination of conditions that will ensure the safety of the

community. Accordingly,

      IT IS ORDERED that defendant is committed to the custody of the Attorney

General pending trial.

      DONE AND ORDERED on February 1, 2019.



Date February 1, 2019                                /s/ Phillip J. Green
                                                    PHILLIP J. GREEN
                                                    United States Magistrate Judge




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